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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

GINA CYRENE GARRISON,
Plaintiff,

v. Case No: 5:19-cv-198-Oc-18PRL

COMMISSIONER OF SOCIAL SECURITY,
Defendant.

 

ORDER

THIS CAUSE concerns Plaintiff Gina Cyrene Garrison’s appeal from a final decision of the
Commissioner of the Social Security Administration (the “Commissioner”) denying her application for
Social Security disability insurance (“SSDI”). On August 25, 2020, the United States Magistrate Judge issued
a report and recommendation (the “Report and Recommendation”) recommending that the Commissioner’s
decision be affirmed (Doc. 18). After review of the Report and Recommendation (Doc. 18) and noting that
no timely objections have been filed, it is hereby ORDERED and ADJUDGED as follows:

1. United States Magistrate Judge Philip R. Lammens’s Report and Recommendation
(Doc. 18) is APPROVED and ADOPTED and made part of this Order for all purposes, including appellate
review.

2. The Commissioner’s decision is AFFIRMED under sentence four of 42 U.S.C. §
405(g).

3. The Clerk of Court is directed to ENTER JUDGMENT accordingly and CLOSE the
case.

DONE and ORDERED in Orlando, Florida, this XS 7 oe of September, 2 2020.

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ENDAL | at
SENI R UNITED STATES DISTRICT JUDGE

Copies to: Counsel of Record
